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IN THE UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

EVELYN ROSA AND ROBERT ROSA,
individually and as the personal

representatives of MICHAEL ROBERT
ROSA, deceased, C-05-03577 JF/HRL

Plaintiff
VS. (Assigned to the

Hon. Jeremy Fogel)

TASER International, Inc,

Defendant.

DECLARATION OFJEFFREY D. HO., M.D., FACEP, FAAEMP

I, Jeffrey D. Ho, being of legal age and under the penalties of perjury, state as follows:

1.

2.

] am a competent adult and have personal knowledge of the following facts.

Attached hereto is a true accurate copy of my expert report in the Rosa v. TASER
International, Inc., Case No.C-05-03577 JF/HRL Litigation.

The report summarizes my analysis and findings and includes a statement of my
opinions. The report also includes data and other information considered by me in
forming my opinions and sets out my qualifications (including my resume).

My opinions are expressed to a reasonable degree of professional certainty.

I affirm under the penalties of perjury that the foregoing statements are true and
correct.

’ Jeffrey D. Ho, MD, FACEP, FAAEM

June 8, 2009

 
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Case: Rosa, et al. v. TASER International, Inc., et al.

*Introduction

I have been retained as an expert medical consultant on behalf of the Defendant, TASER
International, Inc. (TASER) for this case. ] have been asked to provide my opinions on
sudden, arrest-related death (ARD) and about the effects of the electrical output from a
TASER® electronic control device (ECD or device) on human physiology and what its
human effects were in this particular case. My opinions offered in this case are rendered

to a reasonable degree of medical certainty or probability.

I reserve the right to supplement or modify this statement if and when I acquire additional

relevant information prior to the time of trial.

* Qualifications:

I am a practicing, residency trained and board-certified emergency medicine physician
and hold an academic appointment at the University of Minnesota Medical School. Iam
a Fellow of the American College of Emergency Physicians and the American Academy
of Emergency Medicine. | also hold a full-time peace officer license in the State of
Minnesota and currently work as a deputy sheriff. I have previous experience as a
firefighter/emergency medical technician (EMT) and have fellowship training
specifically in the area of emergency medical services (EMS)/pre-hospital emergency
care. J have 9 years of reserve military service as a medical corps officer and I currently

serve as a medical director to EMS agencies in the upper Midwest. I am also an expert
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medical research consultant on ARD issues to TASER and maintain certification as a
TASER ECD Instructor. My area of expertise includes research in the area of sudden and
unexpected death in law-enforcement related incidents and also the physiologic effects of
ECDs. I have conducted numerous research studies on these devices and have had my
work published in peer-reviewed medical journals and have presented at
national/international meetings and assemblies on these topics. I have been allowed to
provide expert opinions on TASER ECD effects on human subjects in other legal cases
both nationally and internationally. My opinions in this case are based on the above
qualifications. In addition to these qualifications, I will refer interested persons to my

attached curriculum vitae for further qualifications and information.

*Publications in the last 10 years:

Please refer to my curriculum vitae for a listing of publications.

*Compensation:

Hourly billing rate: $350.00 per hour for time spent actively working on this case
(reviewing, writing, testifying, providing deposition) regardless of location.

Travel Billing Rate: $350.00 per hour during business hours (8a-5p) and $175.00 per
hour during non-business hours (5p-8a) for travel time for purposes of business related to
this matter. Travel expenses are to be reimbursed. Domestic first class travel will be

allowed for commercial travel over 6 hours from home station.
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Exhibits to Be Used at Deposition and Trial

Exhibits to be used at deposition include, but are not limited to: all referenced documents

and other resources listed herein or in each particular document; videos of ECD research;

videos of resistive subjects; explanatory and/or demonstrative charts and/or graphs;

PowerPoint® or Keynote® presentations regarding ECDs; research equipment; and

demonstrative aids and devices.

*Previous testimony or deposition as an expert within the last 4 years:

1.

10.

Braidwood Inquiry, Vancouver, Canada (May 2008-testimony, May 2009-
testimony)

Lee v. City of Nashville, et al. (August 2008-deposition, April 2009-court
testimony; expert for the defense, civil wrongful death case)

Nelson v. Orange County Sheriff's Office. (July 2008-deposition; expert for the
defense, civil use of force case)

Oliver v. City of Orlando, FL, et al. (June 2008-deposition; expert for the defense,
civil wrongful death case)

TASER v. Summit County, OH Medical Examiner, et al. (April 2008; expert for
the plaintiff, wrongful decision case)

Morrison v. Muskingum County Sheriff Robert J. Stephenson, et al. (October
2007-deposition, February 2008-court testimony; expert for the defense, civil use
of force case)

Lomax v. Las Vegas Metropolitan Police Department, et al. (October 2007; expert
for the defense, civil wrongful death case)

Heston v. City of Salinas, CA, et al. (June 2007-deposition, May, 2008-court
testimony; expert for the defense, civil wrongful death case)

Giannetti v. City of Stillwater, OK (August, 2005; expert for the defense, civil
wrongful death case)

United States of America v. Jason Malone (July, 2005; expert for the prosecution,
criminal evidence suppression and use of force case)
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11. Walker v. City of Edina, MN (August, 2004; expert for the defense, civil
wrongful death case)

*Case Specific Reviewed Documents or Materials

1. Appendices from defense counsel

2. Autopsy Report by Dr. John Hain

3. Coroner’s Register

4. Central Valley Toxicology Report

5. Detective Jenkins Report

6. Medical Records Community Hospital

7. Medical Records Doctors on Duty
8. Medical Records Doctors on Duty Subpoena
9
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. Monterey County District Attorney Report
0. Deposition of Dr. John Hain

*Case Summary:

The decedent in this case, Michael Rosa (MR), had a Body Mass Index (BMI) of 30.9 at
the time of his autopsy that placed him in the “obese” category per federal standards.
MR had a history of illicit drug and stimulant abuse (necessitating a court-ordered drug
rehabilitation commitment) as well as a history of violent tendencies with criminal
behavior including criminal sexual conduct and domestic physical violence. A friend
(Frank Hart) of MR indicated that MR was exhibiting odd behavior earlier that morning

(described as “double talking” to his parents through a basement door) that led him to

believe that MR had recently used methamphetamine.

On August 29, 2004 at approximately 2300 hours, MR was noted to be exhibiting bizarre
behavior around the location of 84 Carlton Drive. This behavior included talking to
himself, waving his hands in the air, ranting and raving and yelling, “Mario, Mario, I

know you’re in there”. This behavior prompted a citizen to call for police assistance.
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Officer Van Zanten (OVZ) was the first to arrive and described a male (later identified as
MR) as having a crazed look in his eyes. Upon identifying himself as a police officer,
MR ran at OVZ and struck his squad car with his hand and verbalized that he did not
believe that OVZ was a police officer. MR then rapidly walked away from OVZ as

further assistance was requested.

Officer Jeff Powell (OJP), Officer Matthew Doza (OMD) and Officer Katie Reyes
(OKR) responded to assist. MR began to escalate his behavior and his exertion as he
continued to flee from the police and kicked a fence at 4 Carlton Drive until it broke. He
then entered the yard. OJP reported MR’s behavior to also be abnormal and out of
context. It was described as aggressive, hostile and yelling in addition to talking to
himself and attempting to evade the police. MR then broke through a section of fiberglass
paneling and went to the rear yard of the address. MR then broke through a solid wood
fence by pulling the fence boards from the post. OMD described this act as being

performed with ease.

OMD used a TASER M26™ ECD on MR in deployed probe mode for a 5-second cycle
while OKR provided lethal force coverage of the situation. The ECD deployment was
effective and MR fell to the ground but rolled away from the ECD and this rendered the
ECD ineffective as the wires broke. MR then attempted to get up against the commands
of the officers to stay down. MR had armed himself with a section of fence wood and was

noted to be making animal grunting noises. Jt is reported that MR swung this at the
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officers during this encounter. OMD had deployed a new ECD cartridge on MR but
believed he did not achieve adequate probe contact due to the noise his ECD was making.
He advised the other officers of this and Officer Nick Borges (ONB) then deployed his
M26 ECD into MR’s back. This appeared to achieve adequate probe contact and MR fell

to the ground for the approximate 5-second cycle.

Following this, MR began to stand with the fence board in hand. OMD and ONB both
activated their ECDs again and this caused MR to fall to the ground again and drop the
fence board. (The ECD data download malfunctioned so the exact number of applications
is not clear but it is believed to be 6-8. ONB activated his ECD a total of 2 times during
this encounter.) While on the ground, MR was significantly combative, resisting
handcuffing attempts and attempting to kick at the law enforcement personnel. OMD
applied a brief (1-2 second) drive stun to MR’s left leg slightly above the knee and this

allowed handcuffs to be applied.

MR was then placed in the supine position and his behavior was noted to go from
combative to calm. His breathing pattern changed from heavy to gasping and a pulse was
still present. CPR was started by the officers on scene as they waited for emergency
paramedics to arrive. Full resuscitation efforts were made including transport to an area
hospital. These efforts were unsuccessful and MR died at 0045 hours on August 30,
2004. The total time of this encounter took place over several minutes (approximately

15-20), and the travel distance of MR was greater than 306 meters.
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An autopsy was done and listed the cause of death to be ventricular arrhythmia due to
methamphetamine intoxication. The toxicology screen showed methamphetamine in
MR’s system at the time of death (d-methamphetamine 1.73 mg/L and d-amphetamine
0.15 mg/L consistent with recent use of methamphetamine). Contributing factors were
listed as the TASER ECD application and arrest by police. Additional findings of
significance include moderate cardiac hypertrophy (460 gm weight). The manner of death

was listed as accidental.

Opinion

I have been asked to specifically address the physiologic effects of a TASER ECD
application to humans in this report as well as provide an opinion on certain aspects of
arrest-related sudden death. In this case, there is evidence and supporting law
enforcement documentation that are consistent with 2 TASER M26 ECDs having been
discharged in deployed probe modes and one of them also used in drive stun mode to MR
during a restraint and control process. The ECD applications appear to have occurred to
MR’s left upper back/shoulder area between left upper arm and upper left shoulder; right
lower chest and right upper abdomen; left thigh, just above the knee. The last location
was the drive stun application. It is also possible that there was an exposure to the upper
right back/shoulder area. However, the autopsy report does not specify characteristic
markings at this location. Some of the probe deployments were deemed to be ineffective
due to wire breakage or poor contact. The ECD data download malfunctioned and there is
incomplete data as to the total number of applications that occurred but it is estimated to

be between 6 and 8. The drive stun was only briefly applied and was estimated as 1-2
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seconds of duration.

Before giving an opinion on the specifics of this case, it is important to note that in
general, there is nothing that exists to date scientifically to support a causal connection
between ECD application in humans and sudden, unexpected death. There are several
general conditions that are strongly associated as risk factors in custodial sudden deaths
such as agitated, delirious behavior, underlying cardiomegaly and methamphetamine
abuse.” > *°°7 These conditions are known to be independent of ECD application and all

were present in this case.

In this unfortunate case of MR, it is important to address the logic of the situation before
getting into the specific physiologic consequences. The issue to consider is whether or
not inappropriate logic is being utilized when examining allegations of a possible
association between ECD use and the sudden death (SD) event. Because the SD event
followed shortly after an ECD was used, it is tempting to draw an association between the
two simply because of their close association by time sequence. This logical fallacy is
known as post hoc, ergo propter hoc (“after this, therefore because of this”). A simple but
obvious example of post hoc, ergo propter hoc logic would be when roosters crow in the
morning - shortly after the rooster crows, the rising of the sun occurs. Using post hoc,
ergo propter hoc logic would lead one to believe that the two events described are related
because they occur close together in time. The two events are obviously not related and
if the rooster doesn’t crow the sun still rises. The problem with making a simple time

association as the basis for one’s logic is that time association does not necessarily
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establish causation. In order to establish causation, many other factors need to be
considered, such as the probability of chance, the inherent diurnal nature of roosters that
causes the rooster to crow in the morning and the fact that the sun will rise every morning
because of the laws of the solar system. After considering these other factors, it is clear
that the crowing of the rooster and the rising of the sun are not causally related at all.
While this example may seem absurd, | use it to demonstrate an actual error in logic that
mankind has made in the past. It is also applicable to SD cases such as this one since it is
also this type of logic that is wrongly inferred in cases like this without regard to what the

body of science shows.

The scientific process examines individual factors and scrutinizes them to determine if
they are somehow related to the issue in question. This same scientific process also needs
to be applied in cases that attempt to temporally link an ECD application with a SD
event. Failure to do so only yields uninformed and unsupported speculative opinions and
potentially faulty conclusions. Another logical fallacy that comes into play in this type of
situation is that of causal oversimplification or looking to assign causal blame on any
item or tactic that is used while disregarding MR’s underlying health and drug abuse
history. It also disregards MR’s decision to resist and fight with law enforcement

officers.

Additionally, the use of this logic causes one to ignore the obvious. While it is true that

MR died in the presence of law enforcement personnel, it is important to remember that

this is only true because their presence was necessary due to MR’s behavior. MR’s own

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decisions and actions (decision to abuse methamphetamine despite its health risks and
decision to embark upon significant strenuous and resistive behavior) placed him at
significant risk of sudden death. It is believed that persons with psychotic conditions
similar to MR are at elevated risk for sudden death in situations that place them at
elevated physical stress.* In these situations, deaths such as MR’s also occur unattended
by law enforcement and may occur even in the presence of medical professionals. The
salient point is that the presence of law enforcement or use of an ECD is not a dependent

variable in these types of deaths.

The concept of inappropriate logic in this case cannot be overstated. Inappropriate logic
is the exact reason why so many people unjustifiably believe that ECD use and SD events
are related. This applies not only to laypersons but also to educated professionals such as
law enforcement officers, city officials, attorneys and physicians. It is very easy to make
these associations when events or concepts are not easily understood. In fact, the concept
of flawed logic as it relates to medical conclusions and also to SD events has been
pointed out in the past.” '° ECDs and SDs are not simple devices or concepts and
therefore tend to be at high risk for misunderstanding and inappropriate logic. It is
important to keep in mind that to understand the relationship between 3 factors (in this
case, human physiology, SD in humans, and ECD applications), one should have a good
understanding of all. Simply understanding the human body, the ECD, or SD separately
and independently does not necessarily qualify persons to speak intelligently on the 3 in

combination.

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Before first considering what occurs at a cellular or base level in human physiology, it is
important to provide information about how a TASER ECD operates. There is often
confusion surrounding this because an ECD, by definition, utilizes low current delivered,
brief duration pulsed electrical charges to accomplish its intended task. Unless a person
has had specific training in ECD electrical principles, this confusion often leads to
inappropriate assumptions or conclusions. Furthermore, this confusion is often
perpetuated by media sources in the public domain. (e.g. A national, daily publication
read by thousands of people ran a front page article on June 3, 2005 that compared and
incorrectly showed an ECD to have even greater electrical current output than that of the
judicial electric chair used for capital punishment. The reported output of the ECD was

off by a factor of 1 million.)"

I have significant experience in dealing specifically with many of the ECD electrical
principles in my realm of human research and medicine. I have personal experience as an
emergency physician in caring for patients who have experienced a non-ECD associated
SD event several times in my career. Many of these patients have had similarities to the
case in question. In this case, Plaintiffs allege that the ECD caused or contributed to this
death. There are several factors that are necessary for electrical current to cause damage
to the human body. These include quantity of delivered electrical charge, location of
charge delivery, method of delivery, charge density, etc. One aspect that needs to be
discussed is voltage. In laypersons language, voltage is a measure of the pressure that is
pushing electrons down a certain path. This voltage, if high enough, can cause electricity

to “arc” through open space or through clothing. (e.g. in a dry environment when a

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person walks across the carpet in socks and goes to touch a metal doorknob, the person
often receive a “static” shock to their hand even before the hand has touched the knob.
This jumping or “arcing” of the shock from the hand to the knob occurs because of the
higher voltage involved, often at least tens of thousands of volts but there is no danger
here due to the very low delivered charge involved. Amperage is another component and
represents the flow or the total number of electrons flowing per second along a given
path. This component is necessary at a relatively high number to cause physiologic
damage in a human. (e.g., A typical residential wall outlet will only have a constant
output of about 110 volts (V) but up to 16 amperes (A) of sustained current available.
This is why it can be dangerous for humans to come into contact with it and also why
electricity does not arc out of the wall.) By comparison, the TASER M26 ECD used in
this case generates a peak arcing voltage of up to 50,000 V (to be able to arc across a 50
millimeter (mm) air space or through clothing if necessary) but delivers a peak voltage of
only about 5,000 V across the skin surface in a drive stun mode with average current of
0.0036 A. Perhaps the most pertinent concept to keep in mind with regard to this case is
that higher voltage with very low amperage is not known to be dangerous to humans

from a scientific standpoint.

Another more concrete way to understand these concepts is to compare the energy
delivered from a TASER M26 with that of a commonly used medical device, the
emergency cardiac defibrillator which is used by laypersons and medical personnel alike
to deliver life-saving shocks to patients in cardiac arrest states. Defibrillator energy is

usually characterized in terms of “joules” (J) that is an International System of Units

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measurement of energy (mechanical, electrical, or thermal) describing the energy
delivered in a single pulse. Jt is important to understand that a single J is a very small
amount of energy. Emergency external cardiac defibrillators typically deliver electrical
energy in the range of 150-360 J. The TASER M26 delivers up to about 1 J per pulse.
The minimum energy recommendation, measured in joules, by the American Heart
Association (AHA) to be used in common medical situations to generate a physiologic
change at a cellular level is at least 1 J/kilogram (Kg) which would be about 65-90 J for
an average adult. Additionally, the AHA recommends only 3 positions of defibrillator
electrode placement to maximize the electrical current reaching the heart to cause an
effect.'” None of these 3 positions resembles the area of probe impact or drive stun on
MR. This is notable because any allegation of causation in this case needs to be made at
least partially based on ECD energy and probe landing position. The level of energy in a
cardiac defibrillator that is the minimum recommendation by the AHA to effect a
physiologic change is significantly more than what MR was exposed to from the ECD
during the incident in question and is intended to be delivered in a different position and
from larger electrodes than from what MR experienced. There is now a plethora of
human data showing that human exposures to ECDs do not yield findings of cardiac
abnormality, as measured by serum biomarkers, electrocardiograms, and

echocardiography (see references below).
It is significant that MR’s distress did not occur immediately after the ECD application

with deployed probes and that following these applications to the area of the thorax, MR

continued to resist and required a lower extremity drive stun for control. This indicates

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that the application of the ECD to the thorax did not result in a direct “electrocution”
effect. The expected effect from an electrocution would be an immediate fatal heart
arrhythmia and MR would have stopped resisting immediately. That was not the case and
these facts do not support the ECD contributing to MR’s death. These facts do, however,
support some type of fatal cardiopulmonary event consistent with continued volitional
exertion and resistance. MR alone placed himself at high risk for this by electing to
abuse an illicit stimulant and embark upon resistive behavior. This risk is independent of
an ECD application. Therefore, there is no support for the ECD causing a situation of

cardiac arrest in this case.

Additionally, death by electrocution is generally known to be relatively instantaneous.
Electricity is not stored up in the body and somehow released at some later time causing a
cardiac arrest. The fact that MR exhibited signs of life with continued resistance and
agitation for some time after the final thoracic ECD application do not support a causal
connection. MR’s death as described is, however, quite consistent with those that are due
to extreme acidosis states induced by delirious and continued resistive behavior.'? This
mechanism of death is very likely in this case and is also complicated by the cardiac
hypertrophy found at autopsy. Its occurrence is totally independent of the application of

an ECD.
From a human physiologic standpoint, there is no harm that has been found to be

associated with an ECD exposure. There have been several human studies looking at

many factors of cellular physiology associated with ECD exposure and no dangerous

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short or long-term findings have been apparent.’* !° '©!7!8!9 2° Some of these studies
were conducted with discrete 5-second exposures and some were conducted with
exposure times that were even longer. Additionally, there are now studies that have
looked at specific methods of application such as the “drive stun” that may mimic what
occurred in this case. This follow-up research has also not shown a clinically relevant or
concerning finding with regard to changes in human physiology and was performed with
drive stuns in many body locations including what MR experienced.”’ Of note, one of
the above referenced studies examines the effect of ECD application directly over the
heart.’ This is significant because it gives exposure in an area that is considered by
some experts to be even more potentially dangerous than where MR received his probe
application and no deleterious effect was found. The above studies have been conducted
in corporately sponsored research as well as independent and government funded
research groups and the findings have been similar and consistent. Furthermore, the
studies from Ho et al have utilized human subjects so there is the high likelihood of better
correlation between this type of modeling than studies where animal models have been

utilized. This point has been acknowledged by animal researchers in this field.””

With regard to recent animal model research, it is relevant to discuss this for the sake of
thoroughness and to be fair. There have been studies using animal models (particularly
swine) that have demonstrated concerning results and have led to cautious conclusions.”*
425 It is important to recognize this animal research for what it is. Animal models allow
researchers to examine questions that ethically or realistically could not be done utilizing

human models. Additionally, animal research is valued in science as it often points the

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scientific investigatory process in certain directions. However, there are restrictions to
this type of research when examining ECDs that need to be understood. First, ECDs are
designed to be used on humans. In the case of MR, the ECD application was made to a
human. Second, the animal research realm introduces a fair amount of artificiality to the
research process. For example, due to requirements of humaneness, animal research of
this type can usually only be done on animals that are under general anesthesia. In this
condition, animals do not breathe without the assistance of life-support ventilator
machinery. In the animal ECD studies cited, during ECD exposure, the animal was taken
off of the ventilator or the ventilator was stopped during ECD exposure. One of the
results of this was that the animals did not receive life-support breathing while they were
in a state that required it. Another result was that ECD applications could cause fatal
heart rhythms in some of the animals under certain conditions. These results have
received much discussion by others since it is believed that this was the first indication
that ECD exposure prevented breathing and caused the heart to stop. This was touted as
an induced suffocation or cardiac arrest mechanism by which ECDs were causing SD
events. Subsequent human studies by Ho, et al have disproven this.'® ! These are good
examples of how animal research can lead to inaccurate conclusions when attempting to
extrapolate animal study findings to human application. Additional concerns about using
animal studies to form conclusions for human application include the weight discrepancy
between the animals used and the typical human exposed to an ECD as well as anatomic
differences and artificial anatomic manipulations of the animals.”° Reasonable authors of

animal studies are aware of these limitations and have written in the literature about their

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concems in order to caution others from drawing conclusions that are too far-reaching

from their work.2”

The finding that humans uniformly have an increase in minute ventilation during ECD
exposure is significant.’® In arrest-related deaths such as this case involving MR, there
are often allegations of breathing restriction made. This is of concern because in addition
to the obvious mechanism of suffocation, restriction of breathing could be harmful if the
person is in an exhausted physiologic state. In an exhausted condition, build-up of
metabolic waste products (known as acidosis) requires that a person be able to increase
their ventilatory status as a way to compensate for this. In doing so, it allows the waste
product of carbon dioxide to be expired at a greater rate than normal and this allows their
acidotic physiologic state to be buffered. That ECD exposure allows this respiratory
compensation to occur makes this a very reasonable and logical tool to be used in

situations such as this from a medical safety standpoint.

From a common sense standpoint, there is compelling evidence (in terms of sheer
numbers of exposures) that an ECD exposure does not constitute a dangerous situation.
This is based on the simple numbers of exposures on record with the TASER ECD
manufacturer. To date, there are well over 680,000 voluntary exposures recognized by
the manufacturer.”® There have been no complaints of death following these exposures.”’
° This is significant if taken in the context of how a medical device or therapeutic drug
would be ascertained to be safe to use on the general public in this country. In order to

deem a medical device or therapeutic drug to be safe for public use, it must pass a series

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of human clinical testing trials. These trials typically amount to less than a few thousand
subjects without demonstrating harm. TASER ECDs have well surpassed this mark in

terms of numbers with no reported consistent, associative complaints.

While there is not a clear existence of association between ECD use and SD, there is a
clear existence of association between a certain profile of person at risk for SD events.
This has been demonstrated in several research studies and texts and MR is represented
by this profile in several ways including gender, body mass index, and underlying cardiac
disease with extreme exertion/agitation preceding sudden collapse.*' ** ** ** In this case,
MR had a pre-disposing, underlying health condition (cardiac hypertrophy). This,
coupled with the significant exertional stress he elected to participate in with the police
surrounding his collapse placed him at significant risk for sudden cardiac death due to
arrhythmia and/or acidosis. All of these conditions were present in MR at his time of
collapse and are independent of ECD application. To assign blame to the ECD in this
situation is an over-simplification of the totality of MR’s history and condition. It fails to
address the other factors of importance such as prior health history, illicit stimulant abuse

and volitional resistance.

The factor of metabolic acidosis that was present in MR around the time of his collapse is
significant. By definition, metabolic acidosis is a condition that is physiologically present
whenever there is significant exertion being performed. MR was most certainly in this
state of physiology at the time of his collapse based on the account of his significant

violent and bizarre behavior (rushing to strike a squad car, breaking a fence, breaking a

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yard barrier, etc.). This was worsened when he volitionally resisted against and struggled
with the officers called to control the situation. This feature of agitation, resistance and
struggling has been correlated with sudden death in the past.'? MR’s notable resistive
behavior demonstrated a person with an elevated metabolic demand that was significant
and defines a condition of metabolic acidosis. This condition is also known to be an
associated risk for a sudden death event that is independent of the application of an ECD

application.

MR’s underlying condition of acidosis should not be underestimated. It was present prior
to any ECD application due to his resistance and agitation. It was imperative that his
behavior be brought under control immediately so as to not worsen his condition. In
recent human study, it has been demonstrated that the use of an ECD to control behavior
in humans with an underlying acidosis is likely a better choice in controlling them than
other options such as continued grappling as this will create a situation of worsening
acidosis (currently unpublished data).*° *° This data also demonstrates very well that the
application of an ECD in a human with this physiologic state uniformly does not worsen
the acidosis condition that is already present. This data also demonstrates that the
absolute worst thing a person can do with regards to worsening their own physiology
from an acidosis standpoint is to resist custodial control efforts. This behavior markedly

worsens acidosis whereas ECD application does not.

Additionally, it is important to note that situations of having to control bizarre, agitated

and violent persons with an ECD are not without risk. These situations, by definition, are

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always going to involve a high risk for significant injury or death to the subject, the law
enforcement officers, or both regardless of tools or tactics used. It is unreasonable to have
law enforcement authorities solve this very volatile situation with the expectation of zero
risk to the parties involved. This concept should not be underestimated and the inherent
risk in this does not stem from the ECD as a tool. It stems from the volitional actions
(such as actively resisting and being violent), as well as the underlying health and
condition of the person (such as having heart disease and abusing methamphetamine).
When considering alternative means of control that are available (such as manual force,
impact weapons or a firearm) the ECD has a risk:benefit ratio that would appear to be
acceptable given the nature of the situation and the results of human study in this subject

area.

Finally, I agree with the medical examiner that MR died due to a cardiac arrhythmia
secondary to methamphetamine abuse and intoxication. Based on my knowledge and
understanding of ECDs, I do not believe that the ECD was a contributing factor. It is also
my opinion that MR was at significant risk for a terminal arrhythmic event brought about
by the stress of his elective physical resistance, his underlying methamphetamine
intoxication and from his underlying heart disease. MR represents a person with multiple
factors associated with SD (male gender, high body mass index, underlying cardiac
disease, exertional and resistive behavior) and all of these are completely independent of

the application of an ECD.

Conclusions

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Based on the available ECD human research and my review of the totality of the
documentation listed above, as well as my professional education, experience and
background, it is my opinion, to a reasonable degree of medical certainty or probability,

that the use of the TASER ECD did not cause or contribute to MR’s death.

It is also my opinion that MR’s methamphetamine intoxication, underlying cardiac
disease and his resistive non-compliance contributed to his death by placing him at an
elevated risk for a sudden arrhythmic event during his agitated state. MR’s elective
decision to attempt to resist the police officers by physically exerting himself contributed
to putting him at significantly elevated risk for a subsequent profound metabolic acidosis

and cardiac arrhythmia.

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al; Case #: CV2005-0123838, Superior Court of AZ, County of Maricopa.

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Hennepin County Medical Center hoxxx010@umn.edu
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Minneapolis, MN 55415

Jeffrey D. Ho, M.D., FACEP, FAAEM

EDUCATION:
DEGREE - Associate of Science (Criminal Justice/Law Enforcement)
Inver Hills Community College
Inver Grove Heights, Minnesota
March, 2005

FELLOWSHIP - Emergency Medical Services/Prehospital Care
Hennepin County Medical Center
Minneapolis, Minnesota
July, 1995 ~ June, 1996

RESIDENCY - Emergency Medicine
Hennepin County Medical Center
Minneapolis, Minnesota
May, 1992 — June, 1995

DEGREE — Doctor of Medicine
Loma Linda University School of Medicine
Loma Linda, California
August, 1988 — May 1992

DEGREE ~ Bachelor of Science (Biology/Zoology)
Loma Linda University College of Arts and Sciences
Riverside, California
September, 1984 — June, 1988

HONORS and AWARDS:
September, 2008 - Sheriff's Office Achievement Award
Meeker Count Sheriff's Office, Litchfield, Minnesota
*Awarded by peer committee to a single deputy annually for outstanding
professionalism and service to the community including a lifesaving action while on-
duty.

January, 2008 - Rescue Service Award
Minneapolis Police Department, Minneapolis, Minnesota
*Awarded for scene rescue effort provided during the Interstate 35W bridge collapse.

November, 2007 — Pisto] Expert Award
Meeker County Sheriff's Office, Litchfield, Minnesota
*Awarded for mastery and marksmanship during firearm qualification.

January, 2007 —- Top Doctor Award in Emergency Medicine
1" Annual MPLS/St. Paul Magazine, Minneapolis, Minnesota
*Presented annually to Twin City physicians upon receiving top nomination by their
peers.
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HONORS and AWARDS (continued):
September, 2006 — Mark Rathke, MD Lecture Award
21* Annual MN EMS Medical Director Conference, Alexandria, Minnesota
*Presented annually to a distinguished lecturer in the area of local EMS in honor of a
previous EMS physician who served the profession with dedication.

April, 2005 — Outstanding Accelerated Program Student Award
Inver Hills Community College, Inver Grove Heights, Minnesota
*Awarded by the college faculty in recognition of outstanding academic achievements
in the accelerated law enforcement training program.

May, 2003 - Archibald Bush Foundation Medical Fellowship
Archibald Bush Foundation, St. Paul, Minnesota
*Competitively awarded as a career enhancement grant to allow me to pursue cross-
training in law enforcement.

June, 2002 —Ermest Ruiz Teaching Award
Hennepin County Medical Center, Minneapolis, Minnesota
* Awarded by the senior residents in Emergency Medicine in recognition of
outstanding teaching contributions within the residency training program.

May, 2002 — Chief’s Award of Merit
Police Department, Minneapolis, Minnesota
* Awarded in recognition of outstanding leadership provided to the tactical paramedic
program of the Emergency Response Unit.

December, 2001 — Service Award
Police Department, Minneapolis, Minnesota
* Awarded in recognition of service to the Emergency Response Unit.

January, 2000 —Meritorious Service Award
Fire Department, Minneapolis, Minnesota
*Awarded in recognition of meritorious and heroic service during the extrication and
rescue of an accident victim resulting in the saving of a human life.

November, 1999 —Fellow of the American College of Emergency Physicians
ACEP Annual Meeting, Las Vegas, Nevada
*Fellow status is granted only after meeting stringent training, teaching and

certification standards.

July, 1997 — Best Oral Presentation of Original Research Award
National Association of EMS Physicians Annual Meeting, Lake Tahoe, Nevada
*Awarded for presentation of a research project conducted during fellowship.

May, 1997 — Award of Recognition
Dakota County Technical School, Dakota County, Minnesota
*Awarded for providing mentorship in emergency medicine to high school students
considering health care careers.
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HONORS and AWARDS (continued):
June, 1995 ~ James Andersen Scholarship Award
Hennepin County Medical Center, Minneapolis, Minnesota
*Annually awarded to a single senior resident who demonstrates excellence in
leadership and clinical abilities in emergency medicine.

March, 1995 — University of Minnesota School of Medicine Resident Physician
Distinguished Teaching Award Nominee
University of Minnesota School of Medicine, Minneapolis, Minnesota
*Nominated by the University of Minnesota senior medical students for excellence in
academic and clinical teaching.

June, 1994 - Emergency Medicine Chief Resident
Hennepin County Medical Center, Minneapolis, Minnesota
*Selected by my colleagues to maintain and promote intra and interdepartmental
leadership, rapport and education through a wide variety of administrative

responsibilities.

February, 1993 — Resident Association Representative Elect
Hennepin County Medical Center, Minneapolis, Minnesota
*Elected by my peers to serve a 2 year term to represent my residency at the national
level to the Emergency Medicine Residents Association of the American College of

Emergency Physicians.

May, 199] - California Medical Association Student Representative Elect
Loma Linda University School of Medicine, Loma Linda, California
*Elected by a state planning agency to serve on the Association's Committee for
Emergency and Disaster Preparedness.

March, 1989 —- CIBA/GEIGY Award
Loma Linda University School of Medicine, Loma Linda, California
*Awarded annually to a medical student for outstanding community service in medical

related projects.

May, 1988 - Cum Laude Graduate
Loma Linda University College of Arts and Sciences, Riverside, California

May, 1985 through May, 1988 — Dean’s List of Academic Achievement
Loma Linda University College of Arts and Sciences, Riverside, California

January, 1988 — Carnation Corporation Scholarship
Loma Linda University College of Arts and Sciences, Riverside, California
*For providing community service while maintaining standards of academic
excellence.

January, 1986 - Howard O. Welty Scholarship
Loma Linda University College of Arts and Sciences, Riverside, California
*For achieving standards of academic excellence.

April, 1984 - Loma Linda University Academic Scholarship
Orangewood Adventist Academy, Garden Grove, California
*For academic excellence prior to entering undergraduate study

ACADEMIC APPOINTMENTS:

June, 2007 through Present — Associate Professor of Emergency Medicine
Case 5:05-cv-03577-JF Document 214-1 Filed 09/25/09 Page 28 of 46

University of Minnesota School of Medicine
Twin Cities Campus, Minneapolis, Minnesota

July, 1996 through May, 2007 — Assistant Professor of Emergency Medicine
University of Minnesota School of Medicine
Twin Cities Campus, Minneapolis, Minnesota

CLINICAL EXPERIENCE:
July, 1996 through Present — Attending Faculty, Emergency Medicine
Hennepin County Medical Center (Level 1 Trauma Center)
Hennepin Faculty Associates, Minneapolis, Minnesota

June, 1996 through June, 1998 — Courtesy Staff Physician, Emergency Medicine
Ridgeview Medical Center, Waconia, Minnesota

November, 1993 through June, 1997 — Courtesy Staff Physician, Emergency Medicine
District Memorial Hospital, Forest Lake, Minnesota

United Hospital, St. Paul, Minnesota

Northfield Hospital, Northfield, Minnesota

Emergency Practice Associates, Faribault and Hibbing, Minnesota

MEDICAL DIRECTOR EXPERIENCE:
October, 2006 through July, 2007 — Expert Medical Consultant
City of Oakland, California
*Provide a comprehensive report on the human effects of conducted electrical weapons
for the city administration as they move to implement these devices into their police
department.

April, 2006 through 2009 - Medical Director
Fire Department, St. Louis Park, Minnesota
*Direct a fire-service based EMS program of 25 personnel.

March, 2006 through Present - Deputy Medical Director

Minnesota Task Force-] Urban Search and Rescue Team, Minneapolis, Minnesota
*Provide leadership, operational ability and expert medical advice for a statewide
specialized rescue team.

June, 2009 through Present — Independent Contract Medical Director

August, 2004 through Present - Expert Medical Consultant

TASER International, Scottsdale, Arizona

*Provide medical direction, research expertise and expert medical advice for a company
that manufactures conducted electrical weapons for law enforcement, military and
civilian application.

January, 2003 through Decmber, 2003 — Medical Director

Medevac, Inc., Minneapolis, Minnesota

*Provide medical oversight, treatment protocols, standing orders, equipment and
product evaluation for a company that provides basic life support instruction, automatic
external defibrillator equipment and training and limited event emergency medical
services.

MEDICAL DIRECTOR EXPERIENCE (continued):
September, 2002 through November, 2003 - Chief Medical Officer
MN-1 Disaster Medical Assistance Team, Minneapolis, Minnesota
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*Direct and participate on a team of medical personnel tasked for deployment by the
Federal Office of Emergency Preparedness to national needs for emergency medical aid.

September, 1997 through May, 2001 - Medical Director & Tactical Physician
Police Department Emergency Response Unit, Minneapolis, Minnesota
*Direct and participate on a team of 10 medical personnel assigned to the SWAT team.

July, 1998 through Present ~ Director of EMS Fellowship Program
Hennepin County Medical Center, Minneapolis, Minnesota

May, 1997 through Present — Medical Director of Public Safety/Paramedic Services

Fire Department, Edina, Minnesota
*Direct a fire-service based paramedic program of 25 personnel.

July, 1996 through Present ~ Associate Medical Director of Paramedic Services
Hennepin County Ambulance Service, Minneapolis, Minnesota

*Assist with the direction of an urban, third-service based paramedic program of 110
personnel.

July, 1996 through Present — Director of Resident EMS Education
Hennepin County Medical Center, Minneapolis, Minnesota

July, 1996 through Present - Medical Director of Spectator Services
Hubert H. Humphrey Metrodome, Minneapolis, Minnesota
*Direct a stadium first-responder team of 60 personnel.

July, 1996 through July, 1998 - Medical Director of Spectator Services
Minneapolis Children’s Grand Prix, Minneapolis, Minnesota
*Directed a fully enclosed race track based first-responder team of 20 personnel.

OTHER EXPERIENCE:
December, 2006 through Present — Deputy Sheriff
Meeker County Sheriff's Office, Meeker County, Minnesota
*Responsible for providing law enforcement services and protection of life and property
to the surrounding community.

January, 2006 through December, 2006 - Police Officer

Dassel Police Department, Dassel, Minnesota

*Responsible for providing law enforcement services and protection of life and property
to the surrounding community.

October, 2005 through Present - Examiner

American Board of Emergency Medicine, Lansing, Michigan

“Responsible for administering the oral examination to candidates pursuing board
certification in emergency medicine.

OTHER EXPERIENCE (continued):
July, 2005 through January, 2007 — Police Officer
Buffalo Lake Police Department, Buffalo Lake, Minnesota
“Responsible for providing law enforcement services and protection of life and property
to the surrounding community.

May, 1989 through June, 1990 — Clinic Director
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Social Action Corps Clinic, Rialto, California
*Responsible for directing the efficient operation of a student-run medical clinic which
provided low cost health care to an indigent population.

February, 1986 through May, 1988 — Fire Apparatus Engineer

Riverside County Fire Department, Riverside County, California

*Provided emergency medical service and fire suppression activities to the surrounding
community.

November, 1984 through February 1986 — Firefighter

Riverside County Fire Department, Riverside County, California

*Provided emergency medical service and fire suppression activities to the surrounding
community.

November, 1984 through May, 1988 - Firefighter

Home Gardens Volunteer Rescue Squad, Home Gardens, California

*Provicded emergency medical and rescue services to the surrounding community ona
volunteer basis.

MILITARY EXPERIENCE:
June, 1992 through September, 1998 — Army National Guard, Minnesota
Major, Medical Corps
434" Main Support Battalion and STARC Detachment 7
Cottage Grove and Minneapolis, Minnesota
Honorable Discharge

May, 1989 through June, 1992 - Army National Guard, California
Second Lieutenant, Medical Service Corps

143" Evacuation Hospital

Los Alamitos, California

Honorable transfer to Minnesota

Military Awards Earned:

1. Army Reserve Component Achievement Award (1997)
2. Minnesota State Service Award (1997)

3. Army Award of Accomplishment (1996)

4. Army Service Award (1995)

5. National Defense Service Medal (1993)

6. Humanitarian Service Award (1989)

7. California Medal of Merit (1989)
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ACADEMIC REVIEW EXPERIENCE:

2009 Academic Emergency Medicine (Invited Commentator)

2008 EMS1com (EMS Medical Director Reviewer of academic content)
2008 Academic Emergency Medicine (Invited Reviewer)

2007-2008 Southern Medical Journal (Invited Reviewer)

2007-2009 American Journal of Emergency Medicine (Invited Reviewer)

ACADEMIC TEXT EDITORSHIP:
Kroll MW and JD Ho (eds). TASER Electronic Control Devices: Physiology, Pathology,
and Law. Berlin: Springer Science Media, In-Press 2009.

ACADEMIC TEXT CHAPTERS:
Lindquist MD and JD Ho. “Safety and Scene Size-Up” (ch. 9), “Documentation and
Communication” (ch. 17), and “Teamwork and Operational Interface”(ch. 52). The
Paramedic: A Comprehensive Textbook. Ed. W Chapleau, A Burba, and P Pons.
Dubuque: McGraw-Hill Higher Education, 2008.

Ackermann B and J Ho. “Continuum of Force.” (ch. 4) Tactical Emergency Medicine. Ed.
R Schwartz, J McManus and R Swienton. Lippincott, Williams and Wilkins, 2007.

PUBLICATIONS:
Ho J, Dawes D, Cole J, Reardon R, Hottinger J, Terwey D and J Miner. Effect of a
conducted electrical weapon exposure on a methamphetamine intoxicated animal model.

Acad Emerg Med, 2009;16:S222.

Ho J and D Dawes: “Research Update on the TASER Flectronic Control Device.” 5"
European Symposium on Non-Lethal Weapons. Fraunhofer Institut Chemische
Technologie. Karlsruhe: DWS Werbeagentur und Verlag GmbH, 2009.

Ho J, Dawes D, Heegaard W, Calkins H, Moscati R and J Miner: Absence of
electrocardiographic change following prolonged application of a conducted electrical
weapon in physically exhausted adults. ] Emerg Med, 2009;In Press.

Heegaard W, Hildebrandt D, Reardon R, Plummer D, Clinton J and J Ho: Prehospital
ultrasound diagnosis of traumatic pericardial effusion. Acad Emerg Med, 2009;16:364.

Heegaard W, Ho J and D Hildebrandt: The prehospital ultrasound study: Results of the
first six months. Prehosp Emerg Care, 2009;13:139.

Ho J: Human Cardiorespiratory and acid/base effect of a civilian-conducted electrical
weapon. Prehosp Emerg Care, 2009;13:94-95.

Dawes D, Ho J: Letter to the Editor, “Fortuitous therapeutic effect of TASER shock”
misleading (On Richards #2008-267). Ann Emerg Med, 2009;53:286-287.

Ho J, Heegaard W, Dawes D, Natarajan S, Reardon R and J Miner: Unexpected arrest-
related deaths in America: 12 months of open source surveillance. West ] Emerg Med,
2009;X:68-73.

Dawes D, Ho J and J Miner: Echocardiographic evaluation of TASER X26 probe
deployment into the chests of human volunteers. Am J Emerg Med, 2009;In Press.
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PUBLICATIONS (continued):
Dawes D, Ho J and J Miner: The neuroendocrine effects of the TASER X26: A brief

report. Forensic Sci Int, 2009;183:14-19.

Ho J, Dawes D, Reardon R, et al: Echocardiographic evaluation of a TASER X26
application in the ideal human cardiac axis. Acad Emerg Med, 2008;15:838-844.

Hick J, HoJ, et al: Emergency medical services response to a major freeway bridge
collapse. Disaster Medicine and Public Health Preparedness, 2008;2:S17-S24.

Ho J, Miner J, Dawes, D, et al: Reply to Letter (Conflict of interest in research by A
O’Brien). Am] Emerg Med, 2008;26:504-505.

Ho J, Dawes D: Weapon retention in the home. Cop to Cop News 2008;5(issue 2).

Ho J, Lapine A, Joing S, et al: Confirmation of respiration during trapezial conducted
electrical weapon application. Acad Emerg Med, 2008;15:398.

Ho J, Dawes D: The TASER device and custodial death. Cop to Cop News 2008;5(issue 1).

Ho J: Rhetoric vs. Reality, The Medical Effect of TASERs (commentary). Emerg Med News
2008; 30:4, 6.

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Ho J, Hick J, Heegaard W: Physician Perspective of the 35W Bridge Collapse: A Tragedy
to Learn From. Metro Doctors 2007; Nov/Dec:18-19.

Dawes D, HoJ, Johnson M, et al: 15-Second conducted electrical weapon exposure does
not cause core temperature elevation in non-environmentally stressed resting adults.
Forensic Sci Int 2008;176:253-257.

Ho J, Dawes D: The Diabetic Dilemma. Cop to Cop News 2007;4(issue 3).

HoJ: Are TASERS Really Non-Lethal? POLICE 2007;31:32-38 and New South Wales Police
News 2007;87:15-17.

Ho J, Dawes D, Johnson M, et al: Impact of Conducted Electrical Weapons in a Mentally
Ill Population: A Brief Report. Am J Emerg Med 2007;25:780-785.

Ho J, Dawes D, Bultman L, et al: Prolonged TASER use on exhausted humans does not
worsen markers of acidosis. Am] Emerg Med, 2008:In Press.

Dawes D, Ho J: Staph on the streets ~ Keeping infection free. 24/7 Cop to Cop News
2007;4 (issue 2):10.

Ho J, Johnson M, and D Dawes: “The state of current human research and electronic
control devices.” Nonlethal Weapons: Fulfilling the Promise? Fraunhofer Institut
Chemische Technologie. Karlsruhe: DWS Werbeagentur und Verlag GmbH, 2007.

Ho J, Heegaard W and D Brunette: Successful transcutaneous pacing in 2 severely
hypothermic patients. Ann Emerg Med 2007;49:678-681.

PUBLICA TIONS (continued):
Case 5:05-cv-03577-JF Document 214-1 Filed 09/25/09 Page 33 of 46

Ho J, Dawes D, Bultman L, et al: Respiratory effect of prolonged electrical weapon
application on human volunteers. Acad Emerg Med, 2007:14:197-201.

Ho J and R Scharbach: Dispositifs Taser et effets physiologiques sur Phomme. La Revue des
SAMU 2006; speciale Septembre :260.

Ho J: Are TASERS really non-lethal? POLICE 2007; 31:32-38.
Ho J: How to respond to excited delirium. POLICE 2007;31:28-30.

Ho J, Miner J, Lakireddy D, Bultman L and W Heegaard: Cardiovascular and physiologic
effects of conducted electrical weapon discharge in resting adults. Acad Emerg Med
2006;13:589-595.

Ho J: Some More Food for Thought on the Current TASER Device Literature. American
College of Emergency Physicians Tactical EMS Interest Group Newsletter 2005; 3“ Quarter.

Ho J: Sudden In-Custody Death. POLICE August 2005; 29:46-56.

Martel M, Miner J, Fringer R, Sufka K, Miamen A, Ho J, et al: Discontinuation of
Droperidol for the Control of Acutely Agitated Out-of-Hospital Patients. Prehosp Emerg
Care 2005; 9:44-48,

Hick JL and JD Ho: [Case Report] Ketamine chemical restraint to facilitate rescue of a
combative “jumper”. Preshosp Emerg Care 2005;9:85-89.

Ho J: Last Night (reflections piece). Acad Emerg Med 2003; 10:1023.

Ho J, Lindquist M, Bultman L, Torstenson C: Apathy is not Welcome Here (editorial).
Prehosp Emerg Care 2003; 7:414-416.

Ho J, Conterato M, Mahoney B, et al: [Case Report] Field Extremity Amputation with
Subsequent Cardiac Arrest. Prehosp Emerg Care 2003; 7:149-153.

Ho J, Lindquist M: The Time Saved with the Use of Emergency Warning Lights and
Siren While Responding to Requests for Medical Aid in a Rural Environment. Prehosp
Emerg Care 2001; 5:159-162.

Ho J: Response vs. Transport Times (letter to ed.). Emerg Med News 2000; 22:38.
Ho J: Misplaced Tubes (letter to ed.). Prehosp Emerg Care 2000; 4:202.

Ho J: Tactical EMS Team Contributions. Minneapolis Police Department After Action Report
for International Society of Animal Geneticists Mass Gathering Incident; July, 1999.

Reed D, Gough J, Ho J, et al: Prehospital Consideration of Sildenafil-Nitrate Interactions.
Prehosp Emerg Care 1999; 3:306-309.

HoJ: Lights and Sirens or Silence? (commentary). Emerg Med News 1999; 21:2, 36 .
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PUBLICATIONS (continued):
Ho J, Casey B: Emergency Warning Lights and Sirens (reply to letter). Ann Emerg Med
1999; 34:114-115.

Ho J, Casey B: The Time Saved With the Use of Emergency Warning Lights and Sirens
While Responding to Requests for Emergency Medical Aid. Ann Emerg Med 1998; 32:585-
588.

Ho J, Held T, Heegaard W, et al: Automatic External Defibrillation and its Effects on
Neurologic Outcome in Cardiac Arrest Patients in an Urban Two-Tiered EMS System.
Prehosp Disaster Med 1997; 12:284-287.

Green S, Rothrock S, Ho J, et al: Failure of Adjunctive Bicarbonate to Improve Outcome
in Severe Pediatric Diabetic Ketoacidosis. Ann Emerg Med 1998; 31:41-48.

GRANT EXPERIENCE:
October, 2008 - $130,000.00
Source: TASER International, Inc.
Project: Safety Testing of a 40 mm Conducted Electrical Weapon

December, 2007 - $130,000.00

Source: TASER International, Inc.

Project: Effect of TASER Device Exposure in Combination with Methamphetamine in
a Swine Model.

August, 2007 - $10,000.00
Source: Twin Cities Metropolitan EMS Board
Project: Portable Carbon Monoximetry Utility in a Firefighting Rehabilitation Zone.

May, 2003 - $56,000.00

Source: Archibald Bush Foundation Medical Fellowship Grant

Project: Physician cross-training in law enforcement to provide emergency medical care
in tactical, high-risk environments.

January, 1998 - $75,000.00

Source: American International Health Alliance

Project: The Effect of Introducing Automatic External Defibrillation Upon the Citizens
of an Emerging Country (Republic of Moldova)

December, 1997 - $7,500.00
Source: Twin Cities Metropolitan EMS Board
Project: The Effect of Utilizing ALS “Jump Cars” Within a Two-Tiered EMS System

October, 1995 - $4,000.00

Source: Twin Cities Metropolitan 911 Board

Project: The Time Saved With the Use of Emergency Warning Lights and Sirens While
Responding to Requests for Emergency Medical Aid in and Urban Environment

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FORMAL PRESENTATIONS:
February, 2009 — American Academy of Forensic Science Annual Meeting
Denver, Colorado
Ho J: Conducted Electrical Weapons ~ A Review of the Medical Literature
*Oral presentation of a literature review

February, 2009 —- American Academy of Forensic Science Annual Meeting
Denver, Colorado

Ho J: TASER Wound Progression in Two Deployment Modes

*Poster presentation of original research

January, 2009 - National Association of EMS Physicians Annual Meeting
Jacksonville, Florida

Ho J: Human Cardiorespiratory and Acid/Base Effect of a Civilian Conducted Electrical
Weapon

*Oral presentation of original research

Heegaard W, Hildebrandt D and J Ho: The Prehospital Ultrasound Study: Results of the
First 6 months.

*Poster presentation of original research

January, 2009 — Caribbean Emergency Medicine Congress

Bridgetown, Barbados

Ho J: Introduction of the conducted electrical weapon in the hospital setting: 8 months
of use

Dawes D and J Ho: The Physiologic Effects of Multiple Simultaneous Electronic Control
Device Discharges

Dawes D and J Ho: The neuro-endocrine effeéts of the TASER X26 conducted electrical
weapon

*Poster presentations of original research

September, 2008 — European Society of Emergency Medicine

Munich, Germany

And

The National Association of Medical Examiners

Louisville, Kentucky

Ho J: Serum Biomarker Effect of Prolonged TASER" XREP Device Exposure

Dawes D and J Ho: The Effects of the eXtended Range Electronic Projectile (XREP) on
Breathing

Dawes D and J Ho: Electrocardiographic evaluation of a long-range electronic control
device (ECD) exposure in human volunteers

*Poster presentations of original research

July, 2008 — Australian College of Emergency Medicine

Newcastle, Australia

Ho J: Cardiac and Diaphragm Echo Evaluation During TASER Device Drive Stun

Dawes D and J Ho: 1) The Effects of the Extended Range Electronic Projectile (REP) on
Breathing; 2) The Effect of a Cross-Chest Electronic Control Device Exposure on
Breathing; 3) Echocardiographic Determination of Cardiac Rhythm During Trans-
Thoracic Wireless Conducted Electrical Weapon Exposure

*Poster presentations of original research

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FORMAL PRESENTATIONS (continued):
May, 2008 - Heart Rhythm Society Annual Meeting
San Francisco, California
And
June, 2008 - CARDIOSTIM
Nice, France
Ho J: Echocardiographic Evaluation of Human Transcutaneous TASER” Application
Along the Cardiac Axis
*Poster presentation of original research

January, 2008 — National Association of EMS Physicians Annual Meeting

Phoenix, Arizona

And

June, 2008 — Canadian Association of Emergency Physicians Annual Meeting
Ottawa, Canada

Ho J: Prolonged TASER” “Drive Stun” Exposure in Humans Does Not Cause Worrisome
Biomarker Changes

*Poster presentation of original research

October, 2007 - American College of Emergency Physicians Research Forum
Seattle, Washington

and

September, 2007 — Fourth Mediterranean Emergency Medicine Congress
Sorrento, Italy

Ho J: Ultrasound Measurement of Cardiac Activity During Conducted Electrical
Weapon Application in Exercising Adults.

*Poster presentation of original research

September, 2007 ~ Fourth Mediterranean Emergency Medicine Congress
Sorrento, Italy

Ho J: Absence of Electrocardiographic Change Following Prolonged Application of a
Conducted Electrical Weapon in Physically Exhausted Adults.

*Poster presentation of original research

October, 2007 — American College of Emergency Physicians Research Forum
Seattle, Washington

and

September, 2007 - Fourth Mediterranean Emergency Medicine Congress

Sorrento, Italy

Dawes D, Ho J: Breathing Parameters, Venous Gases, and Chemistries with Exposure to
a New Wireless Projectile Conducted Electrical Weapon.

*Poster presentation of original research

October, 2007 - American College of Emergency Physicians Research Forum
Seattle, Washington

and

September, 2007 - Fourth Mediterranean Emergency Medicine Congress

Sorrento, Italy
Dawes D, Ho J: The Neuroendocrine Effects of the TASER X26 Conducted Electrical

Weapon as Compared to Oleoresin Capsicum.
*Poster presentation of original research

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FORMAL PRESENTATIONS (continued):
October, 2007 — American College of Emergency Physicians Research Forum
Seattle, Washington
and
September, 2007 - Fourth Mediterranean Emergency Medicine Congress
Sorrento, Italy
Dawes D, Ho J: 15-Second Conducted Electrical Weapon Exposure Does Not Cause Core
Temperature Elevation in Non-Environmentally Stressed Resting Adults.
*Poster presentation of original research

September, 2007 - Fourth Mediterranean Emergency Medicine Congress
Sorrento, Italy

Dawes D, Ho J: 15-Second Conducted Electrical Weapon Application Does Not Impair
Basic Respiratory Parameters, Venous Blood Gases, or Blood Chemistries.

*Poster presentation of original research

May, 2007 — Annual Meeting of the Society for Academic Emergency Medicine,
Chicago, Hlinois

Ho J, et al: Physiologic Effects of Prolonged Conducted Electrical Weapon Discharge on
Acidotic Adults

*Poster presentation of original research

May, 2007 - Annual Meeting of the Society for Academic Emergency Medicine,
Chicago, Illinois

Ho J, et al: Absence of Electrocardiographic Change Following Prolonged Application of
a Conducted Electrical Weapon in Physically Exhausted Adults

*Poster presentation of original research

May, 2007 - Annual Meeting of the Society for Academic Emergency Medicine,
Chicago, Ilinois

Moscati R, Ho J, et al: Physiologic Effects of Prolonged Conducted Electrical Weapon
Discharge on Intoxicated Adults

*Poster presentation of original research

June, 2006 — Annual Meeting of the National Alliance for the Mentally II
Washington, D.C.

Dawes D, Ho J, et al: Beneficial Impact of Conducted Electrical Weapons in the Mentally
il Population

*Poster presentation of original research

June, 2006 - CARDIOSTIM 2006 Annual Meeting of International Cardiac
Electrophysiologists

Nice, France

Ho J, et al: Absence of Electrocardiographic Findings Following TASER Device
Application in Human Volunteers

*Poster presentation of original research

September, 2005 - 2005 Scientific Assembly of the American College of Emergency
Physicians

Washington, D.C.

Ho J, et al: Deaths in Police Custody: An 8-Month Surveillance Study

*Poster presentation of original research

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FORMAL PRESENTATIONS (continued):
September, 2005 - Third Mediterranean Emergency Medicine Congress
Nice, France
Ho J, et al: Deaths in American Police Custody: A 12-Month Surveillance Study
*Oral Presentation of original research

January, 2005 — Annual Meeting of the National Association of EMS Physicians,
Naples, Florida

Bultman L, Ho J, Page D: Safety Restraint Usage Patterns in an Urban EMS System
*Poster presentation of original research

January, 2005 — Annual Meeting of the National Association of EMS Physicians,
Naples, Florida

Bultman L, Ho J, Page D: Disposition of Undesignated patients in Urban Minnesota
*Poster presentation of original research

September, 2004 — Minnesota Ambulance Medical Directors Annual Conference,
Alexandria, Minnesota

Bultman L, Ho J, Page D: Preliminary Report on Undesignated Patient Disposition in
Urban Minnesota

*Oral presentation of original research

January, 2004 — Annual Meeting of the National Association of EMS Physicians,
Tucson, Arizona

Ansari R, Ho J: Hand Sanitization Rates in an Urban EMS System

*Oral presentation of original research,

*Awarded Best Oral Presentation of Original Research

January, 200] — Annual Meeting of the National Association of EMS Physicians,
Sanibel Island, Florida

Black C, Ho J: 1 Paramedic vs. 2-How Often is a Second Paramedic Utilized in an Urban
EMS System?

*Poster presentation of original research

September, 1997 — Minnesota Ambulance Medical Directors Annual Conference,
Alexandria, Minnesota

Ho J: Preliminary Report on the Time Saved with the Use of Emergency Warning Lights
and Siren While Responding to Requests for Medical Aid in a Rural Environment.
*Oral presentation of original research

May, 1997 —- Annual Meeting of the Society for Academic Emergency Medicine,
Washington, D.C.

Ho J: Time Saved with the Use of Emergency Warning Lights and Sirens While
Responding to Requests for Medical Aid.

*Poster presentation of original research

January, 1997 — Mid-Year Scientific Meeting of the National Association of EMS
Physicians, Lake Tahoe, Nevada

Ho J: Time Saved with the Use of Emergency Warning Lights and Sirens While
Responding to Requests for Medical Aid.

*Oral presentation of original research

*Awarded Best Oral Presentation of Original Research

FORMAL PRESENTATIONS (continued):
November, 1996 — Twin Cities Metropolitan 911 Board, St. Paul, Minnesota

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Ho J: Final Report on the Time Saved with the Use of Emergency Warning Lights and
Sirens While Responding to Requests for Medical Aid in Minneapolis.
*Oral presentation of original research

May, 1996 — Annual Meeting of the Society for Academic Emergency Medicine,
Denver, Colorado

Ho J: Automatic External Defibrillation and its Effects on Neurologic Outcome in
Cardiac Arrest Patients in an Urban Two-Tiered EMS System.

*Poster presentation of original research

May, 1996 — Annual Meeting of the Society for Academic Emergency Medicine,
Denver, Colorado

Ho J: The Utility of the Routine Swimmers View Cervical Radiograph in Addition to the
Cross Table Lateral Cervical Radiograph in Detecting Cervical Spine Injury in Critical
Trauma Patients.

*Poster presentation of original research

May, 1995 - Clinical-Pathologic Case Competition at the Annual Meeting of the
Society for Academic Emergency Medicine, San Antonio, Texas

Ho J: Cutaneous Actinomycosis

*Oral presentation of a case study

INVITED PRESENTATIONS:
June, 2009 - Waukesha County Custodial Death Conference
Pewaukee, Wisconsin
Ho J: Sudden Death and the TASER Device
*Oral presentation of academic issues and research to local medical and law
enforcement leadership

May, 2009 — 5th European Symposium on Non-Lethal Weapons

Ettlingen, Germany

Ho J: The State of Current Human Research and Electronic Control Devices (ECDs)
*Oral presentation to European military and law enforcement leadership on the current
research in this subject area

May, 2009 - Greek Government Official Presentation

Athens, Greece

Ho J: The TASER Device Human Research Update

*Oral presentation of current medical research involving TASER devices

December, 2008 — Meeker County Sheriff's Office Prisoner Treatment Training
Litchfield, Minnesota

Ho J: Custodial Arrest-Relared Death Physiology for Law Enforcement

* Oral presentation of Custodial Death causes, prevention and awareness.

October, 2008 — Association of Training Officers of Minnesota Fall Conference
Plymouth, Minnesota

Ho J: Custodial Death Issues for Law Enforcement

*Oral presentation of Custodial Death causes, prevention and awareness.

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INVITED PRESENTATIONS (continued):
October, 2008 — LifeLink II] Trauma Tactics Conference
Red Wing Minnesota
Ho J: Custodial Death Issues for EMS Responders
*Oral presentation of Custodial Death causes, prevention and awareness.

October, 2008 — Overland Park Public Safety Presentation

Overland Park, Kansas

Ho J: Sudden Arrest Related Death and The TASER Device

*Oral presentation of sudden death current medical research involving TASER devices

September, 2008 - Multijurisdictional Law Enforcement Authority Presentation
(Germany, Austria, Switzerland)

Munich, Germany

Ho J: The TASER Device Human Research Update

*Oral presentation of current medical research involving TASER devices

July, 2008 - Australian Law Enforcement Official Presentation
Sydney, Australia

Ho J: The TASER Device Human Research Update

*Oral presentation of current medical research involving TASER devices

May, 2008 - Braidwood Commission

Vancouver, Canada

Ho J: Testimony

*Oral presentation of sworn testimony on numerous research findings involving TASER

devices

May, 2008 - Bloomington Police Department Citizen Academy Night
Bloomington, Minnesota

Ho J: TASER Devices - An Evening With The Experts

*Oral presentation of current medical research involving TASER devices

April, 2008 —- MN State Patrol Drug Recognition Evaluator School
White Bear Lake, Minnesota

Ho J: Human Function and Physiology

*Oral presentation of core course content topic for law enforcement officials

January, 2008 - Association of Training Officers of Minnesota Winter Conference
Minneapolis, Minnesota

Ho J: Custodial Death Issues for Law Enforcement

*Oral presentation of Custodial Death causes, prevention and awareness.

November, 2007 - 2nd Annual Conference of the Institute for the Prevention of In
Custody Death

Las Vegas, Nevada

Ho J: Human Research on Conducted Electrical Weapons

*Oral presentation of past, present and future human research involving electrical

weaponry

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INVITED PRESENTATIONS (continued):
October, 2007 — German Military and National Police Scientific Annual Meeting
Berlin, Germany
Ho J: Conducted Electrical Weapons: Update of Current Research
*Oral presentation to the German National military and police scientific community on
current research in this subject area

August, 2007 — Baltimore Medical Examiner’s Office In-House Training
Baltimore, Maryland

Ho J: The State of Current Human Research and Electronic Control Devices(ECDs)
*Oral presentation to forensic scientific community on the current research in this
subject area

June, 2007 - 29" Annual BioElectroMagnetic Society Meeting

Kanazawa, Japan

Ho J: The State of Current Human Research and Electronic Control Devices(ECDs)
*Oral presentation to an international scientific community on the current research in
this subject area

May, 2007 - 4% European Symposium on Non-Lethal Weapons

Ettlingen, Germany

Ho J: The State of Current Human Research and Electronic Control Devices(ECDs)
*Oral presentation to European military and law enforcement leadership on the current
research in this subject area

March, 2007 - City Council Task Force Meeting

Palo Alto, California

Ho J: TASER Devices and Human Effects - What can research tell us?

*Oral testimony to city officials and the lay public of current research as they debate
moving towards deployment of conducted electrical weapons in their city

March, 2007 — MN Reserve Police Officer Association Annual Meeting
Brooklyn Park, Minnesota

Ho J: Custodial Death and Intermediate Weapons

*Oral presentation to membership about the custodial death phenomenon

January, 2007 — Minnesota Bureau of Criminal Apprehension

St. Paul, Minnesota

Ho J: Medical Considerations in Sudden Custodial Death Investigations

*Oral presentation to state investigators about the custodial death phenomenon

December, 2006 ~ An Garda Siochaina (Irish National Police Agency)

Dublin, Ireland

Ho J: Conducted Electrical Weapon Research Update

*Oral presentation of pertinent safety research given to the police administration as they
move towards deployment of conducted electrical weapons in Ireland

December, 2006 — Accident and Emergency Physicians Association of Ireland
Dublin, Ireland

Ho J: Comprehensive Analysis of Custodial Death and Conducted Electrical Weapons
*Oral presentation of the custodial death phenomenon and how it relates to the
introduction of electrical weapons into society

INVITED PRESENTATIONS (continued):
November, 2006 - Meeker County Sheriffs Office Use of Force Update
Litchfield, Minnesota

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Ho J: Electronic Control Device and Use of Force Physiology for Law Enforcement
*Oral Presentation of human response to electronic control device applications

November, 2006 — 1* Annual Conference of the Institute for the Prevention of In
Custody Death

Las Vegas, Nevada

HoJ: Human Research on Conducted Electrical Weapons

*Oral presentation of past, present and future human research involving electrical
weaponry.

November, 2006 — Grand Rounds for the Faculte’ de Medecine Rene Descartes Paris
5 School of Medicine

Paris, France

Ho J: Conducted Electrical Weapon Controversies and Research

*Oral presentation of experience and research to prepare their providers for patient care
issues as France begins to deploy electrical weapons to their police forces.

September, 2006 — 21* Annual MN EMS Medical Director Conference
Alexandria, Minnesota

Ho J: Issues of In Custody Death for EMS Providers

*Oral presentation on the interface of EMS providers with the phenomenon of sudden,
unexpected death of persons in law enforcement custody.

June, 2006 — US Department of Defense and National Institute of Justice Human
Electro-Muscular Incapacitation Device Conference

Quantico, Virgina

Ho J: Conducted Electrical Weapon Human Research Update

*Oral presentation on the state of research involving electronic weapons and their effects
on human subjects.

May, 2006 - TASER International Domestic Tactical Conference

Las Vegas, Nevada

Ho J: TASER Device Medical Research Update

*Oral presentation of current medical research specifically involving TASER devices

2005-2007 - Minneapolis Police Crisis Intervention Tactics Training

Various locations within Minnesota

Ho J: Custodial Death in the Mentally II Population

*Oral presentation at a recurring training class sponsored by the Barbara Schneider
Foundation to train law enforcement officers in specific tactics for dealing with mentally
ill subjects.
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INVITED PRESENTATIONS (continued):
June, 2009 - California (Fairfield Police Department)
April, 2009 ~ Minnesota (Bloomington Police Department)
March, 2009 — California (Los Angeles County Sheriffs Office)
April, 2008 — California (California Highway Patrol)
November, 2007 - Hawaii (Honolulu Police Department)
September, 2007 - Canada (Vancouver Police Department)
March, 2007 ~ Virginia (Prince William County Sheriff's Office)
December, 2006 — Canada (Toronto Police Department)
November, 2006 — California (Oakland Police Department)
October, 2006 — Hlinois (Chicago Police Department)
August, 2006 - Colorado (Colorado Springs Police Department)
July, 2006 — Oregon (Portland Bureau of Police)
June, 2006 - Ohio ( Cleveland Police Department)
June, 2006 — Nice, France (CARDIOSTIM/French National Police)
March, 2006 — California (Santa Ana Police Department)
February, 2006 — California (San Diego County Sheriff's Office)
December, 2005 — Scottsdale, Arizona (TASER International)
October, 2005 — Scottsdale, Arizona (TASER International)
Ho J: TASER Device Human Research Update
*Recurring Lecture Series: TASER Police Executive Conference; Oral presentation of
theories of In Custody Death based on history and medical literature addressing
concerns of the roles that TASER devices play in this phenomenon

December, 2005 - NM Police Chief Association, Albuquerque, New Mexico
November, 2005 ~ Public Information Forum, Gary, Indiana

September, 2005 — International Association of Chiefs of Police, Miami, Florida
August, 2005 - Kansas Law Enforcement Conference, Topeka, Kansas

July, 2005 — Houston Area Public Safety Forum, Houston, Texas

June, 2005 - PRIMA Annual Meeting, Milwaukee, Wisconsin

June, 2005 — San Jose Police Management Meeting, San Jose, California

May, 2005 - National League of Cities Public Safety Council, Reno, Nevada

Ho J: In Custody Death Issues

*Oral presentation of medical literature, research data and experience

April, 2005 - TASER International Domestic Tactical Conference
Scottsdale, Arizona

Ho J: In Custody Death and Law Enforcement Considerations

*Oral presentation of medical literature, research data and experience

June, 2004 — Metro Atlanta Police Chiefs Association
Atlanta, Georgia

Ho J: Medical Considerations for In-Custody Deaths
*Oral presentation of medical literature and experience

December, 2002-present — Hopkins High School (ISD 270) Healthcare Career Class
Hopkins, Minnesota

Ho J: A Career in Emergency Medicine

*Oral presentation given annually to high school seniors considering careers in medicine

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INVITED PRESENTATIONS (continued):
September, 2002 — Annual Meeting of the International Rescue Association
Bloomington, Minnesota
Ho J: Ballistic Considerations for Field EMS Personnel
*Oral presentation of continuing medical education

May, August, September and October, 2000 ~- Annual Meetings of the Hennepin
County Medical Center Trauma Team; Minnesota ACEP; Minnesota Ambulance
Medical Directors; and LifeLink III Prehospital Providers; Bloomington, Brainerd,
Alexandria and Red Wing, Minnesota

Ho J: Rescue on Interstate 35

*Oral presentations of a case study

September, 1999 — EMS Personnel Instruction at Republican Trauma Hospital
Chisinau, Moldova

Heegaard W, Ho J: Automatic External Defibrillation

*Oral presentation of continuing medical education and research proposal

May, 1998 - Trauma Grand Rounds at Careggi Medical and Trauma Center,
Florence, Italy

Ho J: American Emergency Medical Services

*Oral Grand Rounds presentation

May, 1998 - Trauma Grand Rounds at Republican Trauma Hospital
Chisinau, Moldova

Ho J: Advances in Trauma Care

*Oral Grand Rounds presentation

January, 1998 — Minnesota Tactical EMS Conference
Minneapolis, Minnesota

Ho J: Firearm Injuries

*Oral presentation of continuing medical education

January, 1998 — Augsburg College Physician Assistant Training Program
Minneapolis, Minnesota

Ho J: An Introduction to Emergency Medical Services

*Oral presentation of continuing medical education

January, 1997 - Emergency Medicine Grand Rounds at Loma Linda University
Loma Linda, California

Ho J: Controversies in EMS

*Oral Grand Rounds presentation

February, 1996 — Annual Meeting of the Arrowhead EMS Association
Duluth, Minnesota

Ho J: Initial Patient Assessment - Everything You Need to Know

*Oral presentation of continuing medical education

August, 1995 — The University of Costa Rica College of Medicine National
Symposium on Emergency Health Care

San Jose, Costa Rica

Ho J: Advances in Cardiac Care and Emergency Management of HIV Patients
*Oral presentations of continuing medical education

LOCAL ACADEMIC LECTURES:

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©2008: Geriatric Trauma and Vulnerable Adults — resident education
©2007 to Present: Behavioral Emergencies — paramedic student education
November, 2006: In-Custody Death Events — paramedic education
#2003 to Present: The Violent Patient — resident education

©2002 to Present: The Difficult Patient Encounter — resident education
#1996 to Present: Medical Student Introduction to the EMS System
#1996 to Present: Residency Update on the State of EMS

eSeptember, 1995: Allergic Reactions — paramedic education

April, 1995: Basic Head Trauma Management ~ paramedic education
#March, 1995: Emergency Cardiac Care Update - paramedic education
eMarch, 1995: Adrenal Emergencies - paramedic education

eOctober, 1994: Ophthalmologic Emergencies — resident education
*September, 1994: Fluid Resuscitation in Thermal Injuries ~ resident education
eMay, 1994: Cardiopulmonary Emergencies - paramedic education
October, 1993: Cocaine Related Chest Pain - resident education

#May, 1993: Rectal Foreign Bodies — resident education

eApril, 1993: Acute Pancreatitis — resident education

COMMITTEE EXPERIENCE.
Chair
©2002 to 2004: Hennepin County EMS Council/Medical Director Subcommittee
#1998 to 2002: Hennepin County EMS Council/Paramedic Subcommittee
©1997 to Present: Minnesota Chapter, American College of Emergency Physicians
EMS Committee
#1996 to 1997: Hennepin County Medical Center Patient Retention Task Force
©1996 to 1998: Hennepin County EMS Council/Paramedic Education Task Force

Boards of Directors

©2006 to Present: MN EMS Medical Directors Education Association, Inc.
(President)

©2004 to 2006: MN EMS Medical Directors Education Association, Inc.
(Secretary/Treasurer)

©1996 to 1997: Minnesota Chapter, American College of Emergency Physicians
#1995 to 1998: Minnesota Association of EMS Physicians

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COMMITTEE EXPERIENCE (continued):
Member
©2008 to Present: American College of Emergency Physicians Task Force on Excited
Delirium
©2006 to 2007: Hospital Security Task Force, Hennepin County Medical Center
©2003 to Present: American College of Emergency Physicians Section on Tactical
EMS
©2000 to 2001: Minneapolis Civil Disturbance Planning Committee
1999 to Present: Minnesota Annual Ambulance Medical Director Retreat Planning
Committee
1997 to 2000: LifeLink II] Aeromedical Transport Medical Advisory Committee
1997 to Present: Hennepin County EMS Council Medical Standards Committee
©1997 to Present: Hennepin County EMS Council
01995 to 1998: Hennepin County EMS Council/Paramedic Subcommittee
#1995 to 1996: Hennepin County Medical Center Trauma Multidisciplinary
Committee

PROFESSIONAL ASSOCIATIONS:
eAmerican College of Emergency Physicians ~ Fellow
eAmerican Academy of Emergency Medicine - Fellow
eAmerican Board of Emergency Medicine — Diplomate
eAmerican Board of Emergency Medicine — Oral Examiner
Society of Academic Emergency Medicine - Member
eNational Association of EMS Physicians - Member
International Association of Chiefs of Police - Member
©National Sheriffs’ Association - Member
eFraternal Order of Police - Member
®MN Professional Peace Officer Association - Member
eArchibald Bush Foundation — Senior Medical Fellow

LICENSURE & CERTIFICATION
®Minnesota Peace Officers Standards and Training Board, License #18203
eFellow of the American College of Emergency Physicians #355932
Fellow of the American Academy of Emergency Medicine
*Diplomate of the American Board of Emergency Medicine-1997

Recertified 2006

eDiplomate of the National Board of Medical Examiners-1994
Minnesota Medical License #36894
*Nevada Medical License #8083 (inactive)
eACLS/APLS/ATLS provider and instructor certified
ePALS provider certified
eTASER operator and instructor certified
Minnesota Emergency Vehicle Operator Certification
eMinnesota Police Pursuit Vehicle Operator Certification
*Minnesota Police Pursuit Intervention Tactics (PIT) Certification
#Tactical EMS/SWAT Physician Certification
California Firefighter Certification

REFERENCES:

eExcellent references provided upon request

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